
31 U.S. 634 (____)
6 Pet. 634
UNITED STATES, PLAINTIFF IN ERROR
v.
GEORGE M'DANIEL, DEFENDANT IN ERROR.
Supreme Court of United States.

A motion was made by Mr. Coxe, for the defendant.
Mr. Taney, attorney general, contra.
Mr. Chief Justice MARSHALL delivered the opinion of the court, overruling the motion.
The declaration is for a balance of accounts of nine hundred and eighty-eight dollars and ninety-four cents; and the ad damnum is laid at two thousand dollars. The bill of exceptions shows, that the United States claimed interest on the balance due to them. There is a general verdict for the defendant. Under these circumstances, it is no objection to the jurisdiction that the bill of exceptions was taken by the counsel for the United States to a refusal of the circuit court to grant an instruction asked by the United States, which was applicable to certain items of credit only, claimed by the defendant, which would reduce the debt below the sum of one thousand dollars. The court cannot judicially know what influence that refusal had upon the verdict.
The motion was overruled.
